   Case 2:20-cr-00153-JNP Document 39 Filed 06/19/21 PageID.95 Page 1 of 3




ANDREA T. MARTINEZ, Acting United States Attorney (#9313)
CARL D. LESUEUR, Assistant United States Attorney (#16087)
Attorneys for the United States of America
Office of the United States Attorney
111 South Main Street, Suite 1800
Salt Lake City, Utah 84111-2176
Telephone: (801) 524-5682
Email: carl.lesueur@usdoj.gov

                         IN THE UNITED STATES DISTRICT COURT
                          DISTRICT OF UTAH, CENTRAL DIVISION


  UNITED STATES OF AMERICA,                         Case No. 2:20-cr-153

          Plaintiff,                                STIPULATED MOTION FOR A
                                                    PROTECTIVE ORDER
          vs.                                       PERTAINING TO
                                                    CLASSIFIED INFORMATION
  MURAT SULJOVIC,

          Defendant.                                Judge Jill N. Parrish




       The United States of America, by and through its attorney, ANDREA T. MARTINEZ,

acting United States Attorney for the District of Utah, hereby respectfully moves for the entry of

a protective order, and in support thereof states as follows:

                1.     Defendant Murat Suljovic has pleaded guilty to attempting to provide

   material support, namely a bomb tutorial, to a foreign terrorist organization, namely, the

   Islamic State of Iraq and the Levant (ISIL), knowing that ISIL was a designated terrorist

   organization and that the organization had engaged in, and was engaging in terrorist activity

   and terrorism.

                2.     The government is in possession of materials that are discoverable

   pursuant to Rule 16 of the Federal Rules of Criminal Procedure, and that involve classified
Case 2:20-cr-00153-JNP Document 39 Filed 06/19/21 PageID.96 Page 2 of 3




national security information. The storage, handling, and control of this classified national

security information requires special security precautions, and access to which requires a

security clearance and a need to know.

            3.      To protect the classified national security information, and pursuant to

Section 3 of the Classified Information Procedures Act (frequently referred to as “CIPA”), 18

U.S.C. Appendix 3, §3, the government submits the proposed Protective Order to establish

the procedures that must be followed by all defense counsel of record, their designated

employees, all other counsel involved in this case, translators for the defense, and all other

individuals who receive access to classified information or documents in connection with this

case.

            4.      Section 3 of CIPA, provides the authority for this Court to issue a

protective order to allow for the disclosure of classified discovery to a defendant: “Upon

motion of the United States, the court shall issue an order to protect against the disclosure of

any classified information disclosed by the United States to any defendant in any criminal

case in a district court of the United States.” 18 U.S.C. App. 3, §3.

            5.      In accordance with Section 9 of CIPA, the Chief Justice of the United

States promulgated security procedures to “apply in all criminal proceedings involving

classified information . . . before the United States district courts . . . .” Revised Security

Procedures Established Pursuant to Pub. L. 96-456, 94 Stat. 2025, by the Chief Justice of the

United States for the Protection of Classified Information (reprinted following 18 U.S.C.

App. 3, § 9). See also 18 U.S.C. App. 3, §9(a).

            6.      The security procedures prescribed by the Chief Justice include, for

example:
   Case 2:20-cr-00153-JNP Document 39 Filed 06/19/21 PageID.97 Page 3 of 3




           a. the appointment of a Classified Information Security Officer (¶ 2);


           b. the use of a secure location for any in camera proceeding “concerning the use,
              relevance, or admissibility of classified information” (¶ 3);
           c. the means by which court personnel obtain the necessary security clearance in
              order to be given access to classified information (¶ 4);
           d. the custody and storage of classified materials (¶ 7);
           e. the means by which classified information may be discussed, communicated and
              processed (¶ 8(c));
           f. the disposal of classified materials (¶ 8(d));
           g. the marking of materials with the appropriate level of classification (¶ 9(a)); and
           h. the final disposition of the classified materials, after all proceedings in the case
              have been concluded.

               7.      Classified Information Security Officer Winfield S. “Scooter” Slade is

   aware of the government’s anticipated production of classified materials and has been

   preparing for the production of the classified materials to defense counsel. Mr. Slade also

   agrees with the terms of this protective order.


               8.      Counsel for Suljovic agrees to the terms of this Motion and the proposed

   Protective Order.


       WHEREFORE, the government respectfully moves this Court to enter the proposed

protective order.

Dated: June 19, 2021

                                                      Respectfully submitted,

                                                      ANDREA T. MARTINEZ
                                                      Acting United States Attorney

                                                      /s/Carl D. LeSueur
                                                      CARL D. LESUEUR
                                                      Assistant United States Attorney
